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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION
                                       www.flsb.uscourts.gov

    IN RE:                                                     Chapter 11 Case

    VITAL PHARMACEUTICALS, INC., et al.,                       Case No. 22-17842 (PDR)

                                     Debtors.1                 (Jointly Administered)




                                                               Adv. Pro. No 23-01125 (PDR)
    VITAL PHARMACEUTICALS, INC., et al.

                                     Plaintiffs,

    v.

    JOHN H. OWOC and ENTOURAGE IP
    HOLDINGS, LLC,

                                     Defendants.


             MOTION TO INTERVENE BY BLAST ASSET ACQUISITION LLC

         Blast Asset Acquisition LLC (“Blast”), by and through its undersigned counsel, hereby

respectfully moves (the “Motion”) the Court pursuant to Rule 24 of the Federal Rules of Civil

Procedure (the “Civil Rules”), Rule 7024 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and section 1109(b) of title 11 of the United States Code (the “Bankruptcy

Code”), for entry of an order permitting Blast to intervene in the above-entitled adversary

proceeding, and hereby states as follows:



1
  The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the Debtors’ federal tax
identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada. Inc. (5454); (iii) JHO
Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC
(6501); (vi) Rainbow Unicom Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc. (8019).
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                                PRELIMINARY STATEMENT

       1.      The Debtors in the underlying chapter 11 bankruptcy cases initiated this adversary

proceeding against Entourage IP Holdings, LLC (“Entourage”) and John H. Owoc (collectively,

“Defendants”) to obtain a declaration (along with other related relief) that certain intellectual

property assets are property of the estate. Those assets—referred to as the “Disputed Assets” in

this proceeding—consist primarily of trademarks and trademark applications that Defendants

claim to own. Plaintiffs allege that the Disputed Assets actually belong to the estate because,

among other reasons, they were created by Plaintiffs’ employees, with Plaintiffs’ resources, and

for Plaintiffs’ benefit. (See Adv. ECF No. 1 (“Plaintiffs’ Compl.”) ¶¶ 41-57.)

       2.      About two months after Plaintiffs initiated this proceeding, they completed the sale

of substantially all their assets to Blast (the “Sale”). (See Bankr. ECF No. 1658.) Blast now seeks

to intervene in this action to obtain (i) a declaration that it is the rightful owner of the Disputed

Assets because they were transferred to Blast in the Sale and that Defendant Entourage has no

right to register the Disputed Assets, and (ii) an order directing the U.S. Patent and Trademark

Office (“USPTO”) to cancel Defendant Entourage’s registration of the Disputed Assets. (See

Ex. A (“Intervenor’s Compl.”) ¶¶ 55–69.)

       3.      Under Federal Rule of Civil Procedure 24(a)—as made applicable to this

proceeding by Bankruptcy Rule 7024(a)(1)—Blast is entitled to intervene as a matter of right. As

numerous courts have held in analogous circumstances, where, as here, a third party claims an

ownership interest in the property at issue in the proceedings, it has an unconditional right to

intervene and be heard on any matter. See, e.g., In re Sea Island Co., 2014 WL 3767431, at *2

(Bankr. S.D. Ga. July 30, 2014) (holding that an entity had an unconditional right to intervene

because it had an interest in the property that was the subject of the adversary proceeding);

Ruderman ex rel. Schwartz v. Washington Nat. Ins. Co., 263 F.R.D. 670, 678 (S.D. Fla. 2010)



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(finding that intervenors had an interest in the action because they claimed to be owners of the

property at issue).

        4.      Alternatively, the Court should exercise its discretion to permit Blast to intervene

pursuant to Federal Rule of Civil Procedure 24(b). “Permissive intervention under [Rule] 24(b) is

appropriate where a party’s claim or defense and the main action have a question of law or fact in

common and the intervention will not unduly prejudice or delay the adjudication of the rights of

the original parties.” Georgia v. U.S. Army Corps of Engineers, 302 F.3d 1242, 1250 (11th Cir.

2002). Here, as discussed below, numerous questions of law and fact are common to both this

proceeding and the claims Blast seeks to assert. Because this proceeding is in its earliest stages—

indeed, the parties are yet to engage in significant motion practice or discovery—permissive

intervention is appropriate. See, e.g., Chiles v. Thornburgh, 865 F.2d 1197, 1214 (11th Cir. 1989)

(allowing intervention where discovery had not yet begun); Georgia, 302 F.3d at 1260 (finding

that because the court had not yet taken any significant action by the time of the intervention

motion, the existing parties would not be prejudiced).

        5.      Before filing this Motion, Blast asked the parties to stipulate to Blast’s intervention.

Plaintiffs and the Official Committee of Unsecured Creditors (the “Committee”) agreed to Blast’s

intervention in this case. However, Defendants did not agree, without providing any explanation

for their refusal. Blast thus respectfully seeks an order from this Court permitting it to intervene

in this proceeding and file its Complaint in Intervention (“Intervenor’s Compl.”), a copy of which

is attached hereto as Exhibit A.

                                          BACKGROUND

        6.      In June 2023, Plaintiffs initiated this adversary proceeding to assert their rights as

to the Disputed Assets, which Defendants claim to own. (See generally Plaintiffs’ Compl.)

Plaintiffs assert three claims for relief: (i) a claim for declaratory judgment that the Disputed Assets



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belong to Plaintiffs; (ii) a claim seeking an order compelling Defendants to turn over the Disputed

Assets to Plaintiffs pursuant to 11 U.S.C. § 541(a); and (iii) a claim seeking to establish a

constructive trust over the Disputed Assets. (Id. ¶¶ 41-57.) Plaintiffs allege, among other things,

that the Disputed Assets “were created, designed, and funded by the Debtors” and that Defendants

“wrongfully usurped a corporate opportunity of the Debtors” by claiming and registering the

Disputed Assets as their own. (Id.)

       7.      On July 31, 2023—about two months after this proceeding began—the Debtors

completed the sale of substantially all their assets to Blast—an acquisition vehicle affiliated with

Monster Energy Company (“Monster”)—pursuant to an Asset Purchase Agreement. (See Bankr.

ECF No. 1658.) That Sale included, among other things, the Disputed Assets subject to this

proceeding. (Intervenor’s Compl. ¶ 2.)

       8.      As is reflected in Exhibit A, Blast now seeks to intervene in this proceeding to

assert claims as to the Disputed Assets. Among other things, Blast alleges that Defendants have

never owned the Disputed Assets and have instead sought to fraudulently register trademarks for

the Disputed Assets as part of a scheme to hide the Debtors’ assets from an arbitration involving

Vital Pharmaceuticals, Inc. (“VPX”), Monster, and third-party Orange Bang, Inc. (Id. ¶¶ 1-14, 24-

54.) Blast therefore seeks (i) a declaration that the Disputed Assets were transferred to Blast in

the Sale and that Defendant Entourage has no right to register the Disputed Assets, and (ii) an

order directing the USPTO to cancel Defendant Entourage’s registrations of the Disputed Assets

pursuant to 15 U.S.C. § 1064. (Id. ¶¶ 55–69.)

                                           ARGUMENT

I.     Blast Is Entitled to Intervene as a Matter of Right

       9.      Federal Rule of Civil Procedure 24(a) provides that a “court must permit anyone to

intervene” who (1) “is given an unconditional right to intervene by a federal statute;” or (2) “claims



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an interest relating to the property . . . that is subject of the action, and is so situated that disposing

of the action may as a practical matter impair or impede the movant’s ability to protect its interest.”

Fed. R. Civ. P. 24(a); see also Fed. R. Bankr. Proc. 7024 (providing that Rule 24 “applies in

adversary proceedings”). Blast is entitled to intervene as of right under both prongs of Rule 24(a).

        A.      Rule 24(a)(1) Grants Blast an Unconditional Right to Intervene

        10.     To begin, a federal statute—namely, 11 U.S.C. § 1109(b)—gives any “party in

interest” an unconditional right to intervene pursuant to Rule 24(a)(1). See In re Celotex Corp.,

377 B.R. 345, 350 (Bankr. M.D. Fla. 2006) (“An entity’s status as a ‘party in interest’ under

§ 1109(b) satisfies the standard for intervention required by Rule 24(a)(1).”). “Courts define

‘party-in-interest’ as an individual or an entity that has ‘a stake in the outcome of the bankruptcy

case.’” In re Sea Island Co., 2014 WL 3767431, at *2. This includes anyone claiming an interest

in the property that is subject to the proceeding. Id. (holding that entity with an interest in the

“ownership status” of a property subject to the adversary proceeding had an unconditional right to

intervene).

        11.     Because Blast asserts ownership over the Disputed Assets, it “has a direct pecuniary

interest in the outcome of the contested matter” and is thus a party in interest. Id. at *3. Courts

routinely permit intervention as of right where, as here, a party is a party in interest under Section

1109(b). See, e.g., id. at *2–3 (permitting entity to intervene where it claimed an interest in the

property allegedly transferred to a purchaser of the Debtors’ assets in bankruptcy); In re SFD @

Hollywood, LLC, 411 B.R. 453, 455 (Bankr. S.D. Fla. 2009) (permitting party in interest under

Section 1109(b) to intervene as a matter of right); In re Celotex Corp., 377 B.R. at 350 (same); In

re Caldor Corp., 303 F.3d 161, 169 (2d Cir. 2002) (same); Hadar Leasing Int’l Co. v. D.H.

Overmyer Telecasting Co. (In re D.H. Overmyer Telecasting Co.), 53 B.R. 963, 975 (N.D. Ohio

1984) (same).



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        12.     Accordingly, Blast is entitled to intervene pursuant to Federal Rule of Civil

Procedure 24(a)(1).

        B.      Rule 24(a)(2) Grants Blast an Unconditional Right to Intervene

        13.     Federal Rule of Civil Procedure 24(a)(2) also grants Blast an unfettered right to

intervene in this proceeding. Under Rule 24(a)(2), Blast may intervene as of right if “(1) [its]

application to intervene is timely; (2) [it] has an interest relating to the property or transaction

which is the subject of the action; (3) [it] is so situated that the disposition of the action, as a

practical matter, may impede or impair [its] ability to protect that interest; and (4) [its] interest will

not be represented adequately by the existing parties to the suit.” ManaSota-88, Inc. v. Tidwell,

896 F.2d 1318, 1321 (11th Cir. 1990). Each requirement is met here.

        14.     First, Blast’s intervention request is timely. Blast seeks to intervene less than three

months after it obtained its asserted ownership of the Disputed Assets and only four months after

the Debtors initiated this proceeding. To date, the parties have not engaged in any motion practice,

have not exchanged any discovery materials, and have not taken any depositions. With discovery

just beginning, Blast’s intervention is timely. See, e.g., Georgia, 302 F.3d at 1259 (finding

intervention timely even though it was requested six months after the intervenor had knowledge

of the litigation and “after discovery was largely complete”); Chiles, 865 F.2d at 1214 (holding

that intervention seven months after filing of the underlying suit was timely); see also Protective

Life Ins. Co. v. Jacobs, No. 8:22-CV-1866 (CEH) (CPT), 2023 WL 4145825, at *3 (M.D. Fla. June

23, 2023) (“And, most significantly, this action is still in an early stage, and the addition of Jacobs

as a party at this point is unlikely to prejudice the existing parties.”).

        15.     Second, because Blast asserts ownership over the Disputed Assets, Blast has “an

interest relating to the property . . . which is the subject of the action.” See Nat. Res. Def. Council

v. Serv., No. 2:16-CV-585, 2016 WL 5415127, at *3, 5 (M.D. Fla. Sept. 28, 2016) (“As the owner



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of the gas and oil rights in Big Cypress, the Colliers have a significant interest in Burnett’s plan to

conduct a survey, which is the subject of this matter.”) (citation omitted); Ruderman ex rel.

Schwartz v. Washington Nat. Ins. Co., 263 F.R.D. 670, 678 (S.D. Fla. 2010) (finding that

intervenors had an interest in the action because they claimed to be owners of the property at issue).

       16.     Third, since Blast “claims an interest in the very property . . . that is the subject of

the main action, the potential stare decisis effect [] suppl[ies] the practical disadvantage which

warrants intervention as of right.” Chiles, 865 F.2d at 1214. Indeed, should the Court determine

that the Disputed Assets belong to Defendants, Blast’s ability to protect its asserted ownership

interest in the Disputed Assets would be impeded or impaired. See Nat. Res. Def. Council, 2016

WL 5415127, at *3 (“Here, the disposition of this lawsuit will impede or impair Burnett’s and the

Colliers’ abilities to protect their interests because Burnett and the Colliers would be prevented

from conducting surveys to explore their oil and mineral rights.”); Ruderman, 263 F.R.D. at 678

(holding that proposed intervenors’ interest may be impaired because their “property interest . . .

is the very subject of the main action”).

       17.     Finally, Blast’s interests “may be inadequate[ly]” represented by the current parties

in this proceeding. Chiles, 865 F.2d at 1214. “[T]he burden of making th[e] showing [of possible

inadequate representation] should be treated as minimal,” and Blast “should be allowed to

intervene unless it is clear that [Plaintiffs] will provide adequate representation.” Id. (citation

omitted). Here, Plaintiffs do not and cannot adequately represent Blast’s asserted interests in the

Disputed Assets. Plaintiffs and Blast assert different interests in the Disputed Assets and seek

different types of relief. While Plaintiffs ask the Court to declare that the Disputed Assets belong

to them (or to order Defendants to turn over those assets or to place them in a constructive trust)

(see Plaintiffs’ Compl. ¶¶ 41–57), Blast seeks a declaration that the Disputed Assets now belong




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to it (as well as other relief, including an order directing the USPTO to cancel registration of certain

of the Disputed Assets) (see Intervenor’s Compl. ¶¶ 14, 55–70).

        18.     The factual and legal bases for the two sets of claims are also different. While

Plaintiffs’ claims are grounded in Plaintiffs’ creation and design of the Disputed Asserts, as well

as Defendants’ usurpation of Plaintiffs’ corporate opportunity (see Plaintiffs’ Compl. ¶¶ 41–57),

Blast’s claims are grounded in, among other things, Defendants’ fraudulent attempts to register or

otherwise secure the Disputed Assets for themselves to shield VPX’s assets from an arbitration

involving Monster and third-party Orange Bang, Inc. (see Intervenor’s Compl. ¶¶ 55–70).

        19.     Accordingly, because Plaintiffs’ and Blast’s claims are independent, and seek

different types of relief, Blast has more than satisfied its “minimal” burden to show that its interests

may be inadequately protected absent intervention. Chiles, 865 F.2d at 1214; Alabama v. U.S.

Army Corps of Engineers, 229 F.R.D. 669, 675 (N.D. Ala. 2005) (approving intervention and

finding that intervenor had “shown that its interest differs from [plaintiff’s]” and that those interest

were “likely [to] compete with” intervenor’s interests); Ruderman, 263 F.R.D. at 677 (“[T]he mere

existence of colorable adequacy issues satisfies Proposed Intervenors' minimal burden to show that

representation of their interests ‘may be’ inadequate.”).

        20.     Accordingly, Blast is entitled to intervene pursuant to Federal Rule of Civil

Procedure 24(a)(2).

II.     Alternatively, Blast Satisfies All Requirements for Permissive Intervention

        21.     Even if Blast did not have an unconditional right to intervene under Rule 24(a) (it

does), the Court should permit Blast to intervene under Rule 24(b). “Permissive intervention under

[Rule] 24(b) is appropriate where a party's claim or defense and the main action have a question

of law or fact in common and the intervention will not unduly prejudice or delay the adjudication

of the rights of the original parties.” Georgia, 302 F.3d at 1250. Where these requirements are



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met, “[j]oinder is ‘strongly encouraged’ and the rules are construed generously ‘toward

entertaining the broadest possible scope of action consistent with fairness to the parties.’” Vanover

v. NCO Fin. Servs., Inc., 857 F.3d 833, 839 (11th Cir. 2017) (quoting United Mine Workers v.

Gibbs, 383 U.S. 715, 724 (1966)). Both requirements are met here.

        22.     First, there can be no doubt that Blast’s claims “have a question of law or fact in

common” with claims and defenses currently asserted in this proceeding. Georgia, 302 F.3d at

1250. These questions include, for example: Who created the Disputed Assets? Who used the

Disputed Assets in commerce, and to what extent? Who owns the Disputed Assets? These and

many other questions are common to both this proceeding and the claims Blast seeks to assert.

See, e.g., Tia Agripina, Inc. v. Cruisers Yachts, Inc., No. 16-CV-62830, 2017 WL 9280110, at *3

(S.D. Fla. Sept. 21, 2017) (granting permissive intervention where intervenor’s complaint shared

numerous questions of fact and law in common); Fields v. Locke Lord Bissell & Liddell LLP, No.

1:07-CV-2984 (TWT) (CCH), 2008 WL 11336850, at *3 (N.D. Ga. July 31, 2008) (same).

        23.     Second, Blast’s intervention would not “unduly prejudice or delay the adjudication

of the rights of the original parties.” Georgia, 302 F.3d at 1250. As explained above, since

Plaintiffs filed this proceeding a few months ago, the parties have not yet engaged in motion

practice, exchanged discovery, or taken any depositions. In these circumstances, with discovery

just beginning, Blast’s intervention is appropriate and permissible. See, e.g., Chiles, 865 F.2d at

1213 (finding no prejudice from intervention where discovery had not yet begun); Georgia, 302

F.3d at 1260 (finding that because the court had not yet taken any significant action by the time of

the intervention motion, the existing parties would not be prejudiced); Protective Life Ins. Co2023

WL 4145825, at *3 (“And, most significantly, this action is still in an early stage, and the addition

of Jacobs as a party at this point is unlikely to prejudice the existing parties.”).




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         24.      Indeed, confirming that there will be no prejudice, Plaintiffs have consented to

Blast’s requested intervention. So, too, has the Committee. And although Defendants have not

consented, they have failed to provide any explanation for their refusal.

                                                CONCLUSION

         25.      For the foregoing reasons, Blast respectfully requests that the Court grant its motion

to intervene and allow it to file the Intervenor’s Complaint attached hereto as Exhibit A.

Dated: October 26, 2023

                                                   /s/Michael I. Goldberg
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                                                   -and-

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                                                   Counsel to Blast Asset Acquisition, LLC.




2
 Eyal Berger certifies that the following attorneys have applied to appear pro hac vice in this matter as follows: (i)
Allison Libeu [Adv. ECF 14]; (ii) Yegor Fursevich [Adv. ECF 15]; and (iii) Stephen Andrews [Adv. ECF 16].



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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the forgoing was served via CM/ECF

Notice of Electronic Filings to all parties registered to receive electronic noticing in this case on

October 26, 2023.
                                              Respectfully submitted,

                                              By: /s/ Michael I. Goldberg
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                EXHIBIT A
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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  FORT LAUDERDALE DIVISION
                                       www.flsb.uscourts.gov

In re:                                                      Chapter 11 Cases

VITAL PHARMACEUTICALS, INC., et al.,                        Case No. 22-17842 (PDR)
                                                            (Jointly Administered)
      Debtors.1
______________________________________/

VITAL PHARMACEUTICALS, INC, et al.,

          Plaintiffs,                                       Adv. Pro. No. 23-01125 (PDR)

v.

JOHN H. OWOC and ENTOURAGE IP
HOLDINGS, LLC,

      Defendants.
______________________________________/

         INTERVENOR COMPLAINT FOR DECLARATORY JUDGMENT
                      AND TRADEMARK CANCELLATION
_____________________________________________________________________________

          Plaintiff Blast Asset Acquisition LLC (“Blast” or “Plaintiff”) brings this adversary

complaint (the “Complaint”) against Entourage IP Holdings, LLC (“Entourage” or

“Defendant”) seeking (i) a declaration that the Disputed Assets (as defined below) are

property of Plaintiff and that Defendant has no right to register any of the Disputed Assets,

and (ii) an order directing the United States Patent and Trademark Office (“USPTO”) to




1
  The Debtors include (i) Vital Pharmaceuticals, Inc.; (ii) Bang Energy Canada, Inc.; (iii) JHO Intellectual Property
Holdings, LLC; (iv) JHO Real Estate Investment, LLC; (v) Quash Seltzer, LLC; (vi) Rainbow Unicom Bev LLC;
and (vii) Vital Pharmaceuticals International Sales, Inc. The address of the Debtors is 1600 N. Park Drive, Weston,
Florida 33326. The last four digits of the Debtors’ federal tax identification numbers are: (i) Vital
Pharmaceuticals, Inc. (8430); (ii) Bang Energy Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC
(0010); (iv) JHO Real Estate Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicom
Bev LLC (2254); and (vii) Vital Pharmaceuticals International Sales, Inc. (8019).




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cancel Defendant’s registrations of any Disputed Assets pursuant to 15 U.S.C. § 1064, and

state as follows:

                                      NATURE OF THIS ACTION

          1.     Since 2008, the Debtors, with the help and support of non-debtor affiliates,

including Entourage, marketed and sold beverages and other products to the public under

the name “Bang” and using associated logos and other intellectual property. The Debtors

continuously used the Bang name in connection with their business and on their products—

including their flagship Bang energy drinks—such that the Bang name has become

synonymous with the Debtors and their “Bang” brand.

          2.     On July 31, 2023, the Debtors completed the sale (the “Sale”) of substantially

all the Debtors’ assets (the “Purchased Assets”) to Plaintiff, an acquisition vehicle affiliated

with non-party Monster Energy Company (“Monster”), under an Asset Purchase Agreement

dated June 28, 2023 (the “Asset Purchase Agreement”).2 The Sale included, among other

things, various trademarks and other intellectual property (the “Bang Assets”).

          3.     Despite the Sale, Defendant claims to own the intellectual property identified

in Exhibit 1 (the “Disputed Assets”), which the Debtors had been using in their business for

years and which are identical to the Bang Assets that Plaintiff obtained through the Sale.

Although Entourage—a non-debtor affiliate—has been attempting to register the Disputed

Assets in its own name, the network of Debtors and non-debtor affiliates, including

Entourage, always functioned as an integrated business, sharing employees, office space,

capital, creditors, revenue, cash management systems, operational systems, and research and




2
 The United States Bankruptcy Court for the Southern District of Florida (the “Bankruptcy Court”) entered an order
approving the Sale on July 14, 2023 [ECF No. 1658] (the “Sale Order”).



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development. Thus, the Disputed Assets properly belonged to the Debtors and were

included among the Purchased Assets that Plaintiff bought in the Sale.

          4.    Entourage registered or has been attempting to register the Disputed Assets in

its own name—rather than the Debtors’ names—to hide the Disputed Assets from the

Debtors’ creditors, specifically Monster and Orange Bang, Inc. (“Orange Bang”). Indeed, at

the time that Entourage began registering the Disputed Assets, the Debtors were in the midst

of litigation with Monster and Orange Bang concerning the Debtors’ use of the Bang Assets.

          5.    That litigation arose from the fact that the Debtors never owned the right to

use the word “Bang” that they emblazoned on the front of every can of Bang energy and that

had become synonymous with the Debtors’ business. Instead, a family-owned business

called Orange Bang owns the trademark to the word “Bang” on beverages. For more than

fifty years, Orange Bang has been continually using the “Bang” mark on its own premium,

flavored drinks. Orange Bang’s trademarks include, without limitation, U.S. Trademark

Registration Nos. 3,960,381, 1,223,619, and 1,224,457 (collectively, “Orange Bang’s

Trademarks”).

          6.    In June 2020, Monster and Orange Bang brought an arbitration against Debtor

Vital Pharmaceuticals, Inc. (“VPX”) for infringing Orange Bang’s Trademarks and

breaching a prior settlement agreement concerning those marks (the “Arbitration”). VPX’s

affiliate, Debtor JHO Intellectual Property Holdings, LLC (“JHO”), was subsequently made

part of the Arbitration after Monster and Orange Bang learned that VPX had transferred

ownership of the Bang Assets to JHO, which licensed them back to VPX. As part of the

Arbitration, Monster and Orange Bang sought damages for trademark infringement and an

injunction precluding VPX and JHO from using the Bang name in connection with any of

the Debtors’ products, including Bang energy.


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          7.     Monster and Orange Bang ultimately prevailed on all claims in the

Arbitration, securing a nearly $185 million judgment against VPX and JHO, as well as a

permanent injunction enjoining VPX and JHO’s use of the Bang name.

          8.     During the pendency of the Arbitration, the Debtors (at the direction and

control of John H. Owoc, the Debtors’ owner and former CEO) devised a scheme to register

trademarks identical to the Bang Assets in the name of a newly formed entity that was not a

party to the Arbitration. In doing so, the Debtors and Mr. Owoc hoped to hide the Debtors’

assets from Monster and Orange Bang and immunize the trademarks used in the Debtors’

business from, among other things, the permanent injunction that Monster and Orange Bang

sought in the Arbitration. The Debtors and Mr. Owoc’s scheme proceeded as follows:

          9.     In August 2020, Mr. Owoc formed two new entities: Debtor Quash

Seltzer, LLC (“Quash”) and Entourage. Mr. Owoc owned and controlled both entities.

Through Quash, the Debtors launched a hard seltzer beverage, which was branded Bang

Mixx Hard Seltzer (“Bang Mixx”). The Bang Mixx can, label, and packaging featured the

same stylized “Bang” name and signature “b” logo as the Debtors’ Bang energy drink.

While Quash led the commercial efforts to manufacture, distribute, market, and ultimately

sell Bang Mixx, the Debtors’ employees filed the U.S. trademark, copyright, and patent

applications that are the subject of this action in Entourage’s name rather than in the name

of the Debtors.

          10.    During the trademark application process, the USPTO flagged Entourage’s

applications as confusingly similar to the Debtors’ Bang Assets. For example, in examining

Entourage’s application for the “Bang” name, the USPTO expressly noted that the Debtors

already held the registration for the “identical” mark. As the USPTO aptly stated: “These

marks are identical in appearance, sound, and meaning, and have the potential to be used . . .


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in exactly the same manner. Additionally, because they are identical, these marks are likely

to engender the same connotation and overall commercial impression when considered in

connection with applicant’s and registrant’s respective goods. Therefore, these marks are

confusingly similar.”     The USPTO further found that the goods at issue—alcohol and

energy drinks—are “related or complementary in use, and thus, registration must be refused

for likelihood of confusion.”

          11.    Similarly, in examining Entourage’s application for a “stylized B” mark, the

USPTO found that the Debtors already held the registration for “the same stylized B” and

“[t]herefore, these marks are confusingly similar.” The USPTO further stated that the goods

at issue—alcohol and energy drinks—are “sufficiently related such that confusion would be

likely if they are marketed under the same or similar marks.” Although the USPTO initially

refused to register the mark on this basis, Defendant falsely represented to the USPTO that

there would be no confusion because Entourage owned the registrations for the Debtors’ “b”

marks. Relying on that fraudulent representation, the USPTO granted Entourage’s

application.

          12.    The fraud did not stop there. Just days before the Arbitration hearing, the

Defendant and the Debtors crafted sham agreements to paper their fraud. Specifically, on

September 22, 2021, Defendant and JHO to enter into a so-called “Consent to Use and

Co-Existence Agreement” pursuant to which they falsely declared that there was no

likelihood of confusion between Entourage and JHO’s use of identical marks (the

“Co-Existence Agreement”). One week later, on September 29, 2021, Defendant entered

into a Trademark License Agreement that granted Quash a license to use the marks (the

“License Agreement”), confirming that Defendant always intended the marks to be used in

the Debtors’ business.


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          13.    Defendant and Mr. Owoc’s actions were all part of an attempt to deceive and

defraud Monster and Orange Bang, and to defeat, hinder, or delay the relief that Monster

and Orange Bang sought in the Arbitration, including damages for trademark infringement

and imposition of a permanent injunction enjoining VPX and JHO’s use of the Bang mark.

          14.    Plaintiff now brings this action seeking (i) a declaration that the Disputed

Assets transferred to Plaintiff as Purchased Assets in the Sale and that Entourage has no

right to register the Disputed Assets; and (ii) an order directing the USPTO to cancel

Entourage’s fraudulently obtained registrations of the Disputed Assets pursuant to 15 U.S.C.

§ 1064.

                                JURISDICTION AND VENUE

          15.    This Court has jurisdiction over this adversary proceeding under 28 U.S.C.

§§ 157 and 1334. This is a core proceeding under 28 U.S.C. § 157(b).

          16.    The Sale Order also expressly provides that this Court has jurisdiction over

this adversary proceeding: “This Court retains jurisdiction, pursuant to its statutory powers

under 28 U.S.C. § 157(b), to, among other things (i) interpret, implement, and enforce, the

terms and provisions of this Sale Order, the Asset Purchase Agreement, the Transaction

Documents, and any amendments thereto and any waivers and consents given thereunder;

(ii) compel delivery of the Purchased Assets to the Buyer; (iii) compel performance of

obligations owed to the Debtors; (iv) resolve any disputes related to the Transaction

Documents; (v) compel delivery of any waivers, releases, or other related documentation

reasonably requested by the Debtors or the Buyer to evidence the release of any Interests in

the Purchased Assets; (vi) enforce the injunctions and limitations of liability set forth in this

Sale Order; (vii) enter any orders under sections 363 and 365 of the Bankruptcy Code with

respect to the Assumed Agreements and Assumed Real Property Leases; and


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(viii) consistent with this paragraph, any action commenced against the Buyer relating to

any of the above or relating to the liability of the Buyer with respect to the Purchased Assets

shall be commenced before this Court.” (ECF No. 1654 ¶ 48).

          17.    Venue is proper under 28 U.S.C. § 1409(a). This adversary proceeding is

related to the above-captioned chapter 11 cases (the “Chapter 11 Cases”), which are pending

in this Court.

          18.    This adversary proceeding is commenced pursuant to:

                 (a)    Rule 7001(7) of the Bankruptcy Rules, which allows for a proceeding

                        to “obtain an injunction or other equitable relief”;

                 (b)    Rule 7001(9) of the Bankruptcy Rules, which allows for a proceeding

                        to “obtain a declaratory judgment relating to any of the foregoing”;

                 (c)    11 U.S.C. § 542, which allows for the Debtors to recover property of

                        their estates; and

                 (d)    11 U.S.C § 105(a), which allows this Court to “issue any order,

                        process, or judgment that is necessary or appropriate to carry out the

                        provisions of” title 11 of the United States Code (the “Bankruptcy

                        Code”).

          19.    Declaratory relief is appropriate pursuant to both Rule 7001 of the Bankruptcy

Rules and 28 U.S.C. §§ 2201-02 (the “Declaratory Judgment Act”).

          20.    As set forth below, an actual legal controversy exists with respect to the

declaratory relief requested herein.

          21.    Pursuant to Rule 7008 of the Bankruptcy Rules, Plaintiff consents to the entry

of a final judgment or order with respect to this Complaint if it is determined that this Court




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would lack Article III jurisdiction to enter such final order or judgment absent the consent of

the parties.

                                           PARTIES

          22.    Plaintiff Blast Asset Acquisition, LLC is a Delaware corporation with its

principal place of business at 1 Monster Way, Corona, California 92879.

          23.    Defendant Entourage IP Holdings, LLC, is a Florida limited liability company

with its principal place of business at 1600 N. Park Drive, Weston, Florida. Entourage is

owned by Mr. Owoc.

                                 FACTUAL BACKGROUND

I.        MONSTER AND ORANGE BANG’S TRADEMARK INFRINGEMENT
          ARBITRATION AGAINST VPX AND JHO

          24.    Mr. Owoc and his affiliated entities have a long history of trampling on the

trademark rights of others. In 2008, VPX began unlawfully selling a pre-workout beverage

under the name “Bang,” ignoring that Orange Bang has been the exclusive owner of the

“Bang” word mark on beverages since 1971. For over five decades, Orange Bang has used

the name “Bang” prominently in its corporate title and trade names and to identify its

premium flavored drinks.

          25.    To protect its trademark rights, in September 2009, Orange Bang brought an

action against VPX in the United States District Court for the Central District of California

(the “California District Court”) for, among other claims, trademark infringement under the

Lanham Act.

          26.    In August 2010, Orange Bang and VPX resolved that litigation in a settlement

agreement (the “Settlement Agreement”), which set forth specific, limited ways in which

VPX could use the Bang name. Among other things, the Settlement Agreement provided

that VPX could use the Bang name to market and sell “nutritionally fortified,” “creatine-

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based” dietary supplement and nutritional products. The Settlement Agreement further

provided that VPX could use the Bang name to sell products that are not creatine-based, but

only under certain conditions not relevant here.

          27.    Following the settlement, VPX dramatically expanded its Bang product line

and the marketing of those products. By 2019, VPX escalated its unauthorized use of the

name “Bang” rebranding the entire company to “Bang Energy.” Around the same time,

Orange Bang discovered that VPX was breaching the Settlement Agreement by selling

products under the name “Bang” that did not even purport to contain creatine or comply

with the restrictions on the sale and marketing of non-creatine-based products.

          28.    In June 2020, Orange Bang and Monster—to whom Orange Bang had

assigned certain rights under the Settlement Agreement—initiated the Arbitration against

VPX. JHO was added to the Arbitration after Monster and Orange Bang learned that VPX

had transferred ownership of the Bang Assets to JHO. Monster and Orange Bang alleged,

among other things, that VPX and JHO infringed Orange Bang’s Trademarks and breached

the Settlement Agreement.

          29.    In April 2022, the arbitrator issued a 177-page final award, finding in favor of

Monster and Orange Bang and against VPX and JHO on all claims. The arbitrator awarded

Monster and Orange Bang $175 million in damages attributable to VPX and JHO’s

infringement of Orange Bang’s Trademarks. The award further provided for payment of

attorneys’ fees and costs (totaling approximately $9.3 million) and interest. The award also

included a permanent injunction enjoining VPX and JHO’s use of the Bang name. At

Monster and Orange Bang’s request, the arbitrator stayed the issuance of the permanent

injunction, provided that VPX and JHO pay Monster and Orange Bang a 5% continuing

royalty on sales of all products bearing the Bang name (the “Royalty”).


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          30.    The California District Court confirmed the Arbitration award and entered

final judgment on September 29, 2022.

II.       THE DEBTORS’ SCHEME TO EXCLUDE THE DISPUTED ASSETS FROM
          THE ARBITRATION

          31.    During the Arbitration, the Debtors and Mr. Owoc devised a scheme to hide

the Debtors’ intellectual property in a new entity in the hopes of shielding such assets from,

among other things, the permanent injunction and other relief that Monster and Orange

Bang sought in the Arbitration.

          32.    Less than two months after the Arbitration began, the Debtors’ employees, at

Mr. Owoc direction, formed two new entities, Quash and Entourage—neither of which was

a party to the Arbitration—to market and sell new Bang-branded products on behalf of the

Debtors. Shortly thereafter, Mr. Owoc directed the Debtors’ employees to file applications

with the USPTO to register to Entourage trademarks and other intellectual property identical

to the Bang Assets that the Debtors owned. Those marks included the Debtors’ stylized

“Bang” mark, signature “b” logo, and the names of Bang-energy flavors.

          33.    In about April 2021, the Debtors, through Quash, launched a hard seltzer

called Bang Mixx. The cans, labels, and packaging for Bang Mixx featured the same

stylized “Bang” name, signature “b” logo, and flavor names as the Debtors’ other beverages,




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including Bang energy. Below is a side-by-side comparison of Bang energy and Bang Mixx:



          34.    Meanwhile, in the Arbitration, Monster and Orange Bang served discovery

asking for a list of all products marketed or sold under the Bang name. Although VPX’s

response initially failed to identity Bang Mixx, Monster and Orange Bang discovered the

existence of Bang Mixx once the Debtors began advertising the product. When confronted

with the omission of Bang Mixx from its discovery responses, VPX informed Monster that

Bang Mixx was being sold by a different company and all but conceded it was part of a

strategy to exclude Bang Mixx from the Arbitration:

                 Bang Mixx – This product is a hard seltzer that contains alcohol.
                 This product is sold by Quash Seltzer. As this product is an
                 alcoholic beverage that did not exist at the time of the 2010
                 Settlement Agreement, and is manufactured by a company that was
                 not a party to the 2010 Settlement Agreement between VPX and
                 Orange Bang, VPX asserts that this product does not fall within
                 the ambit of that agreement, and should not be included in this
                 dispute.

          35.    Monster and Orange Bang repeatedly demanded information relating to

Quash and its use of the Bang Assets on Bang Mixx. Although the arbitrator ordered

production of responsive documents, VPX represented that no such documents existed.

          36.    Mere days before the Arbitration hearing, however, VPX suddenly produced

the Co-Existence and License Agreements. Pursuant to the Co-Existence Agreement, JHO

purportedly consented to Entourage’s registration of the Disputed Assets, despite such

marks being identical to JHO’s Bang Assets. The License Agreement then gave Quash a

license to use the Disputed Assets on Bang Mixx and other alcoholic products. Both

agreements were entered into for no discernable consideration and were signed by VPX

employees—not employees of the parties to the agreements. VPX’s in-house counsel signed

the agreements on behalf of both JHO and Entourage, even though he was not employed by

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either entity. Mr. Owoc, VPX’s CEO, signed the License Agreement on behalf of Quash.

These circumstances make clear that the agreements, and any others like them, were part of

an attempt to evade liability for trademark infringement by putting the Disputed Assets and

Bang Mixx in the names of entities that were not parties to the Arbitration.

          37.    Not only did the Debtors and the Defendant attempt to hide the Disputed

Assets from Monster but they also defrauded the USPTO in the process. Even though the

Disputed Assets are identical to JHO’s Bang Assets, the Defendant falsely represented to the

USPTO that Entourage had the exclusive right to use the stylized “Bang” logo, signature “b”

logo, and copyrighted flavor names. Indeed, on every trademark application, Entourage

falsely represented the following under penalty of perjury:

                 To the best of the signatory’s knowledge and belief, no other
                 persons, except, if applicable, concurrent users, have the right to
                 use the mark in commerce, either in the identical form or in such
                 near resemblance as to be likely, when used on or in connection
                 with the goods/services of such other persons, to cause confusion
                 or mistake, or to deceive.

          38.    Notwithstanding the foregoing misrepresentations, the USPTO flagged

Entourage’s applications for certain marks, including the “Bang” and “b” logos, as

confusingly similar to the Debtors’ Bang Assets. After the USPTO initially refused to

register the marks, Defendant doubled down on its false representations. Defendant told the

USPTO that there would be no confusion because Entourage owned the Debtors’ marks.

This was not true, as the marks were registered to JHO.

          39.    Relying on Defendant misrepresentations, the USPTO granted Entourage’s

registration of certain of the Disputed Assets.3


3
  Entourage’s applications for other Disputed Assets remain pending, including due to oppositions Orange Bang
filed with the USPTO. The USPTO stayed Orange Bang’s opposition proceedings until final determination of the
Arbitration. Plaintiff expects the USPTO to lift the stay given that VPX and JHO recently dismissed their appeal of



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          40.     Contrary to the Defendant’s representations to the USPTO that there would be

no confusion between JHO and Entourage’s use of identical marks, the Debtors and the

Defendant made no distinction between the companies or the marks when advertising Bang

Mixx. To the contrary, the Debtors actively marketed Bang Mixx as having been created by

the Debtors. Below is an example of the product’s packaging specifically stating that Bang

Mixx was created “by the makers of Bang”:




          41.     Even Mr. Owoc marketed Bang Mixx as having been created by the Debtors.

Below are examples of social media advertising from the BangEnergy.CEO Instagram

account proudly proclaiming that Bang Mixx was created by the makers of the “legendary”

and “world-famous Bang Energy”:




the Arbitration, and the Judgment is now final.



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III.      THE DEBTORS’ OWNERSHIP OF THE DISPUTED ASSETS

          42.    Until the Sale to Plaintiff, the Debtors marketed and sold a variety of

beverages and related products, including their leading product, Bang energy drink. The

Debtors and their non-debtor affiliates operated as an integrated business with common

ownership and control. The Debtors and all relevant non-debtor affiliates were inextricably

intertwined, sharing employees, office space, capital, creditors, revenue, cash management

systems, operational systems, and research and development. Mr. Owoc is the sole owner of

each Debtor and all relevant non-debtor affiliates, including Entourage.

          43.    Until Mr. Owoc’s termination as the Debtors’ CEO in March 2023, Entourage

relied wholly on the employees, capital, operations, and cash, among other things, of the

Debtors. Indeed, Entourage did not have its own employees. VPX employed all employees

who performed work for and on behalf of Entourage.

          44.    Entourage did not create, develop, design, or fund any of the Disputed Assets.

Indeed, that would have been impossible as Entourage had none of its own employees.

Instead, the Debtors and their employees performed and funded all work in connection with

the Disputed Assets. The Debtors created the Disputed Assets for the purpose of using such

assets in connection with the Debtors’ goods.


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          45.    Rather than having the Disputed Assets registered to JHO (which would have

been consistent with previous practice), Mr. Owoc, as the Debtors’ then-CEO and sole

owner, directed the Debtors’ employees to file applications for the Disputed Assets in

Entourage’s name in an attempt to shield the Disputed Assets from the Arbitration. The

Disputed Assets mirror the intellectual property that the Debtors had been using for over a

decade before the Defendant’s fraudulent attempt to register the Disputed Assets to

Entourage.

          46.    Even though Mr. Owoc directed that the Disputed Assets be registered under

the name of Entourage, the Defendant never intended that it would produce products that

used any of the Disputed Assets. Instead, Quash would use the Disputed Assets to produce,

market, and sell various alcoholic beverage products, including Bang Mixx. To that end,

Entourage entered into the License Agreement that granted Quash a license to use the

marks, confirming that Defendant always intended the marks to be used in the Debtors’

business.

          47.    The Disputed Assets were, at all times, used by, and for the ultimate benefit

of, the Debtors’ business. Entourage never produced, marketed, or sold any products using

the Disputed Assets. Entourage also has never undertaken a single act to associate the

Disputed Assets with any good or service, or otherwise to give the Disputed Assets any

independent value. All such work was done by the Debtors.

          48.    The Debtors paid for all expenses associated with applying for, registering,

and maintaining the Disputed Assets. The Debtors paid for the applications and upkeep of

the trademarks filed in Entourage’s name, and these expenses were booked in the Debtors’

books and records as regular business expenses, i.e., payments made in the ordinary course,




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not as any kind of distribution or personal payment made on behalf of Mr. Owoc to

Entourage.

          49.    In December 2020, the Debtors began developing a network to distribute and

sell Bang Mixx by engaging in negotiations with various distributors. Entourage did not, and

could not, engage in any such discussions, as it had no employees. Since the launch of Bang

Mixx, the Debtors, through Quash, made commercial use of the Disputed Assets. Even

though the Disputed Assets were registered to Entourage, all revenue stemming from the

sale of Quash’s products flowed to Debtors (including Quash). No funds or other monies

from the sale of the Debtors’ products that used the Disputed Assets were allocated to

Entourage.

          50.    In light of the foregoing, the Disputed Assets properly belonged to the

Debtors and were included among the Purchased Assets that Plaintiff bought in the Sale.

Entourage’s purported registration of the Disputed Assets was nothing more than a scheme

to hide certain of Debtors’ intellectual property from Monster and Orange Bang, and to keep

it out of the Arbitration.

IV.       THE CHAPTER 11 CASES AND TRANSFER OF THE DISPUTED ASSETS
          TO PLAINTIFF

          51.    On October 10, 2022, each of the Debtors filed petitions for relief under

chapter 11 of the Bankruptcy Code. The Debtors’ Chapter 11 Cases are being jointly

administered. Entourage is not a debtor in these Chapter 11 Cases.

          52.    The Debtors are operating their business and managing their affairs as debtors

in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

          53.    From the petition date through the Sale, the Debtors paid Monster and Orange

Bang the Royalty on post-petition sales of all products bearing the Bang name, including

products featuring the Disputed Assets (i.e., Bang Mixx). The Royalty on pre-petition sales

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of all Bang products, including those featuring the Disputed Assets, is included in the

allowed general unsecured claim in favor of Monster and Orange Bang that the Bankruptcy

Court approved as part of the Sale Order.

          54.    On July 14, 2023, the Court entered the Sale Order, and on July 31, 2023, the

Debtors completed the Sale of substantially all the Debtors’ assets, including the Disputed

Assets, to Plaintiff.

                                             COUNT I
                                     Declaratory Judgment

          55.    The allegations set forth in paragraph 1 through paragraph 54 are incorporated

by reference as if set forth fully herein.

          56.    Plaintiff contends that it owns the Disputed Assets because the Debtors

transferred ownership of the Disputed Assets to Plaintiff as part of the Sale.

          57.    Plaintiff further contends that Defendant has no right to register any of the

Disputed Assets.

          58.    Prior to the Sale, the Debtors were the rightful owners of the Disputed Assets.

The Debtors used the Bang Assets constituting the Disputed Assets for over a decade, on a

wide variety of beverages and related products. Any use of the Bang Assets on alcoholic

beverages was related to Debtors’ longstanding use of the Bang Assets on various types of

beverages and related products, as consumers would have reasonably expected the Disputed

Assets to originate from the Debtors. Additionally, the Debtors created, designed, and

funded the Disputed Assets for use in one of the Debtors’ new product lines, and the

Disputed Assets were associated entirely with, and derived their value entirely from, the

Debtors’ business.




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          59.    The Defendant asserts that the Disputed Assets are not the property of

Plaintiff or the Debtors. The Defendant further asserts that it has the right to register the

Disputed Assets.

          60.    Thus, an actual legal and substantial controversy exists as to whether Plaintiff

is the rightful owner of the Disputed Assets and whether the Defendant has the right to

register the Disputed Assets.

          61.    Pursuant to 15 U.S.C. § 1119, the Court “may determine the right to

registration [of a trademark].”

          62.    This controversy is of sufficient immediacy to warrant judicial relief under the

Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202.

          63.    The Debtors are entitled to a declaratory judgment that Plaintiff owns, and is

therefore entitled to control over, the Disputed Assets and that Defendant has no right to

register the Disputed Assets.

                                             COUNT II
            Cancellation of Trademark Registration Pursuant to 15 U.S.C. § 1064(3)

          64.    The allegations set forth in paragraph 1 through paragraph 54 are incorporated

by reference as if set forth fully herein.

          65.    Pursuant to 15 U.S.C. § 1064(3), a petition to cancel registration of a mark

may be made at any time if its registration was obtained fraudulently.

          66.    Between August 10, 2020 and January 31, 2022, the Defendant, at the

direction of Mr. Owoc, filed applications for the Disputed Assets. The Disputed Assets are

identical to the Bang Assets that the Debtors owned and included the Debtors’ stylized

“Bang” mark, signature “b” logo, and the names of Bang energy flavors.




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          67.    Even though the Disputed Assets are identical to the Debtors’ Bang Assets,

the Defendant falsely represented to the USPTO on every application that it had the

exclusive right to use the Disputed Assets. The Defendant also falsely told the USPTO that

there would be no confusion because it owned the Debtors’ marks. This was not true, as the

marks were registered to JHO. The Defendant also falsely declared that there was no

likelihood of confusion between Entourage’s and JHO’s use of identical marks.

          68.    The Defendant knew the foregoing representations were false. The Defendant

further knew that the Debtors were the rightful owners of the Disputed Assets and intended

the Disputed Assets to be used exclusively in the Debtors’ business.

          69.    On July 31, 2023, the Debtors sold the Bang Assets and the Disputed Assets

to Plaintiff in the Sale. Plaintiff currently markets and sells products, including Bang energy,

using the Bang Assets. Accordingly, the Defendants’ registration of the Disputed Assets,

which are confusingly similar to the Bang Assets, is damaging and will continue to damage

Plaintiff. The Defendant’s use in commerce of the Disputed Assets also would infringe the

Bang Assets by causing consumer confusion as to the source or origin of the goods or

services on which the Disputed Assets are used and as to the affiliation, connection, or

association of the Defendant with Plaintiff.

          70.    Because the Defendant’s registration of the Disputed Assets was obtained by

fraud, and the statements provided to the USPTO in connection with the Disputed Assets

were fraudulent, the registrations are subject to cancellation pursuant to 15 U.S.C.

§ 1064(3).

                                   PRAYER FOR RELIEF

          WHEREFORE, Plaintiff respectfully requests the following relief:




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              (a)     a declaratory judgment that the Disputed Assets are the property of

                      Plaintiff and that the Defendant has no right to register the Disputed

                      Assets;

              (b)     an order directing the USPTO to cancel the Defendant’s registrations

                      of the Disputed Assets; and

              (c)     such other and further relief as the Court deems just and proper.



Dated: October 26, 2023                               Respectfully submitted,
       Ft. Lauderdale, Florida

                                                      /s/ Michael I. Goldberg

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                                                      -and-




4 Eyal Berger certifies that the following attorneys have applied to appear pro hac vice in this
matter as follows: (i) Allison Libeu [Adv. ECF 14]; (ii) Yegor Fursevich [Adv. ECF 15]; and (iii)
Stephen Andrews [Adv. ECF 16].


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                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the forgoing was served via

CM/ECF Notice of Electronic Filings to all parties registered to receive electronic noticing in

this case on October 26, 2023.

                                           Respectfully submitted,

                                           By: /s/ Michael I. Goldberg
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